Case 1-19-12342-CLB, Doc 1-5, Filed 11/07/19, Entered 11/07/19 17:06:12,
         Description: Creditors Matrix with Certification, Page 1 of 32
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                      1199 SEIU Regional Pension Fund
                      2421 Main Street
                      Suite 100
                      Buffalo, NY 14214

                      1199 SEIU United Healthcare Workers East
                      310 West 43rd Street
                      New York, NY 10036

                      Aaron Dautch Sternberg & Lawson
                      43 Court Street
                      730 Convention Tower
                      Buffalo, NY 14202

                      Abbott Laboratories, Inc.
                      100 Abbott Park Road
                      North Chicago, IL 60064

                      Abbott Nutrition
                      PO Box 182076
                      Columbus, OH 43218

                      Ability Network Inc.
                      Dept Ch 16577
                      Palatine, IL 60055-6577

                      ACC Business
                      PO Box 1930
                      Buffalo, NY 14240-1930

                      Ace Mechanical Services LLC
                      4568 Bailey Avenue
                      Buffalo, NY 14226

                      Advanced Medical Physics PLLC
                      840 Aero Drive, Suite 150
                      Buffalo, NY 14225

                      Advanced Technology Recycling


                      Advantage Flooring & Tile
                      2 Wendling Court
                      Lancaster, NY 14086

                      Aesculap
                      3773 Corporate Parkway
                      Center Valley, PA 18034

                      AHC Media LLC
                      PO Box 74008620
                      Chicago, IL 60674-8620




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                  Alco Sales & Service
                  6851 High Grove Boulevard
                  Willowbrook, IL 60527

                  ALCON
                  6201 South Freeway
                  Fort Worth, TX 76134-2099

                  Alcon Laboratories Inc.
                  PO Box 99004
                  Fort Worth, TX 76134

                  Alimed Inc.
                  297 High Street
                  Dedham, MA 02026

                  All State Fire Equipment of WNY


                  Allosource
                  6278 South Troy Circle
                  Englewood, CO 80111

                  Alpha Tec Systems Inc.
                  12019 NE 99th Street
                  PO Box 5435
                  Vancouver, WA 98668-5435

                  Ambu Inc.
                  6740 Bayview Drive
                  Glen Burnie, MD 21060

                  American IV
                  7485 Shipley Avenue
                  Harmans, MD 21077

                  American Red Cross
                  PO Box 33093
                  Newark, NJ 07188-0093

                  Amherst Cleaning Services


                  AMN Healthcare Inc.
                  2735 Collection Centre Drive
                  Chicago, IL 60693

                  AMO Sales and Service Inc.
                  1700 East St. Andrew Place
                  Santa Ana, CA 92705

                  Amwins Group Benefits Inc.
                  50 Whitecap Drive
                  North Kingstown, RI 02852


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         Description: Creditors Matrix with Certification, Page 3 of 32
                  AnyBattery Inc
                  PO Box 312
                  Rosemount, MN 55068

                  Applied Medical
                  22872 Aventia Impressa
                  Rancho Santa Margarita, CA 92688

                  Argon Medical Devices
                  3600 SW 47th Avenue
                  Gainesville, FL 32608

                  Arjo Inc.
                  2349 West Lake Street
                  Addison, IL 60101

                  Armored Access Inc.
                  4429 Union Road
                  Buffalo, NY 14225

                  Armstrong Medical Ind. Inc.
                  575 Knightsbridge Parkway
                  Lincolnshire, IL 60069-0700

                  Arrow International Inc.
                  2400 Bernville Road
                  Reading, PA 19605

                  Arthrex Inc.
                  1370 Creekside Boulevard
                  Naples, FL 34108

                  Ascend Capital
                  1400 Industrial Way
                  Redwood City, CA 94063

                  ASR Systems Group Inc.
                  100 Commerce Boulevard
                  Liverpool, NY 13088

                  AT&T
                  PO Box 9001310
                  Louisville, KY 40290-1310

                  Auditz LLC
                  33206 Collection Center Drive
                  Chicago, IL 60693-0331

                  Avanos Medical Inc.
                  5405 Windward Parkway
                  Suite 100 South
                  Alpharetta, GA 30004

                  Avantik


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                  Award Equipment Co. Inc.
                  1774 Brant Road
                  North Collins, NY 14111

                  Bard Access Systems
                  5425 West Amelia Earhart Drive
                  Salt Lake City, UT 84116

                  Bard Medical Division
                  8195 Industrial Boulevard
                  Covington, GA 30014

                  Bard Peripheral Vascular (IMPRA)
                  1156 West Southern Avenue
                  Tempe, AZ 85282

                  Barsuk, David
                  2337 Main Road
                  East Pembroke, NY 14056

                  Baxter Healthcare Corp.
                  PO Box 33037
                  Newark, NJ 07188-0037

                  Bayer Healthcare
                  1 Bayer Drive
                  Indianola, PA 15051-0780

                  Beatty Marketing & Sales, Inc.
                  9345 151st Avenue NE
                  Redmond, WA 98052-3515

                  Beaver Visitec International Inc.
                  411 Waverley Oaks Road
                  Waltham, MA 02452

                  Becton Dickinson (BD)
                  One Becton Drive
                  Franklin Lakes, NJ 07417

                  Beekley Corporation
                  One Prestige Lane
                  Bristol, CT 06010

                  Beney, M.D., P.C., Christopher
                  31 Bob-O-Link Lane
                  Lockport, NY 14094

                  Benistar
                  100 Grist Mill Road
                  Simsbury, CT 06070

                  Best Buy Government and Education
                  7601 Penn Avenue S
                  Minneapolis, MN 55423

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                  BHS Foodservice Solutions
                  375 Commerce Drive
                  Buffalo, NY 14226

                  Bio-Rad Laboratories
                  9500 Meronimo Road
                  Irvine, CA 92618-2017

                  BioServ
                  10 Gramar Avenue
                  Prospect, CT 06712

                  Biotek Services Inc.
                  5310 South Laburnum Avenue
                  Henrico, VA 23231

                  Blackburn's Specialty Products
                  301 Corbett Street
                  Tarentum, PA 15084

                  Blue Cross Blue Shield of WNY
                  Senior Blue
                  PO Box 644362
                  Pittsburgh, PA 15264-4362

                  Bond, Schoeneck & King PLLC
                  200 Delaware Avenue, Suite 900
                  Buffalo, NY 14202-2107

                  Boston Scientific Corporation
                  100 Boston Scientific Way
                  Marlborough, MA 01752

                  Boulevard Produce
                  655 Young Street
                  Tonawanda, NY 14150

                  Bracco Diagnostics
                  PO Box 5250
                  Princeton, NJ 08543-5250

                  Bridgehead Software Inc.
                  400 West Cummings Park
                  Suite 6050
                  Woburn, MA 01801

                  BSC Medical
                  200 Fifth Avenue, Suite 3020
                  Waltham, MA 02451

                  Buffalo Alarm Inc.
                  1325 Millersport Highway
                  Suite 109
                  Buffalo, NY 14221


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         Description: Creditors Matrix with Certification, Page 6 of 32
                  Buffalo Hospital Supply
                  4039 Genesee Street
                  Buffalo, NY 14225

                  Buffalo Materials Handling Corp.


                  Buffalo Pharmacies
                  1479 Kensington Street
                  Buffalo, NY 14215

                  Buffalo Protection & Investigation
                  603 Division Street, Suite 30
                  North Tonawanda, NY 14120

                  Buffalo Synapse Support LLC
                  609 Ridge Road
                  Buffalo, NY 14218

                  Building Specialties
                  675 Duke Road
                  Cheektowaga, NY 14225-5196

                  Byrne Dairy, Inc.
                  2394 U.S. Route 11
                  La Fayette, NY 13084-0176

                  Canon Financial Services, Inc.
                  158 Gaither Drive
                  Mount Laurel, NJ 08054

                  CaptureNet
                  4835 East Cactus Road
                  Suite 430
                  Scottsdale, AZ 85254

                  CardiacDirect
                  5963 Olivas Park Drive
                  Suite F
                  Ventura, CA 93003

                  Cardinal Health
                  PO Box 13862
                  Newark, NJ 07188-0862

                  Cardinal Health - Syracuse Division
                  6012 Molloy Road
                  Syracuse, NY 13211-4864

                  Cardinal Health Optifrieght
                  PO Box 13862
                  Newark, NJ 07188




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                  Carestream Health Inc.
                  150 Verona Street
                  Rochester, NY 14608

                  Cash Register Sales Services
                  2501 Union Road
                  Buffalo, NY 14227

                  CBCS


                  CDW Government Inc.
                  200 N Milwaukee Avenue
                  Vernon Hills, IL 60061

                  Change Healthcare Technology
                  5994 Windward Parkway
                  Alpharetta, GA 30005

                  Chem-Aqua
                  PO Box 152170
                  Irving, TX 75015

                  Choice Spine
                  400 Erin Drive
                  Knoxville, TN 37919

                  Cincinnati Sub Zero
                  12011 Mosteller Road
                  Cincinnati, OH 45241

                  City Treasurer
                  One Locks Plaza
                  Lockport, NY 14094

                  Civil Service Employees Association, Inc
                  Local #1000, AFSCME, AFL-CIO
                   on behalf of Local #716
                  143 Washington Street
                  Albany, NY 12210

                  Clark Patterson Lee
                  205 St. Paul Street, Suite 500
                  Rochester, NY 14604

                  Clean Textiles Systems LP
                  40 51st Street
                  Pittsburgh, PA 15201

                  Clerk, M.D., Harnath
                  2610 Williams Street
                  Newfane, NY 14108




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                  Clinical Equipment Services CNY
                  8417 Oswego Road
                  Baldwinsville, NY 13027

                  Community Computer Service Inc.
                  15 Hulbert Street
                  Auburn, NY 13021

                  Conjerti Moving Co LLC
                  4536 Kayner Road
                  Gasport, NY 14067

                  Conmed Corporation
                  525 French Road
                  Utica, NY 13502

                  Connect Life
                  444 Bryant and Stratton Way
                  Buffalo, NY 14221

                  Cook Medical Incorporated
                  925 South Currey Pike
                  Bloomington, IN 47401

                  Coopersurgical
                  95 Corporate Drive
                  Trumbull, CT 06611

                  Core Sound Imaging Inc.
                  7000 Six Forks Road
                  Suite 102
                  Raleigh, NC 27615

                  CRS Nuclear Services LLC
                  840 Aero Drive, Suite 150
                  Buffalo, NY 14225

                  Culligan Water Conditioning
                  31 Lewis Road
                  Akron, NY 14001

                  Cummins Northeast


                  Davis-Ulmer Sprinkler Co.
                  Attn: Dennis Metz
                  One Commerce Drive
                  Buffalo, NY 14228-2395

                  Davol
                  100 Crossings Boulevard
                  Warwick, RI 02886




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                  DE Soutter Medical USA Inc.
                  224 Rolling Hill Road
                  Suite 12A
                  Mooresville, NC 28117

                  Dex Media
                  PO Box 64809
                  Baltimore, MD 21264-4809

                  Diagnostic Solutions
                  11343 Bloom Road
                  Garrettsville, OH 44231

                  Diamond Healthcare Communications
                  231318 Momentum Place
                  Chicago, IL 60689-5311

                  Direct Energy Business
                  Attn: Customer Relations
                  1001 Liberty Avenue
                  Pittsburgh, PA 15222

                  Diversatek Healthcare Inc.
                  102 E. Keefe Avenue
                  Milwaukee, WI 53212

                  Diversified Services
                  2900 Delaware Avenue
                  Buffalo, NY 14217

                  Dobmeier Janitor Supply Inc.
                  354 Englewood Avenue
                  Buffalo, NY 14223

                  Draeger Inc.
                  3135 Quarry Road
                  Telford, PA 18969

                  DrFirst.com Inc.
                  9420 Key West Avenue
                  Suite 230
                  Rockville, MD 20850

                  Dutch Opthalmic USA
                  10 Continental Drive Bldg 1
                  Exeter, NH 03833

                  Eastern Great Lakes Pathology
                  PO Box 815
                  Niagara Falls, NY 14303

                  Eastern Niagara Svcs Organization
                  5875 Transit Road
                  Lockport, NY 14094


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                  Eastern Vacuum and Compressor Svcs
                  4570 Middle Road
                  Rushville, NY 14544

                  EcoLab Institutional
                  PO Box 905327
                  Charlotte, NC 28290-5327

                  Ehrlich Co. Inc.
                  2916 Walden Avenue, Suite 300
                  Depew, NY 14043-2610

                  EM Cahill Company Inc.
                  519 South Wilber Avenue
                  Syracuse, NY 13204

                  EMC Corporation
                  176 South Street
                  Hopkinton, MA 01748

                  Environmental Service Group (NY)
                  177 Wales Avenue
                  Tonawanda, NY 14150

                  Environmental Services Group (NY)
                  177 Wales Avvenue
                  Tonawanda, NY 14150

                  ESCAN
                  33206 Collection Centrer Drive
                  Chicago, IL 60693-0331

                  Esolutions
                  WS#165
                  PO Box 414378
                  Kansas City, MO 64141-4378

                  Evans Bank, N.A.
                  1 Grimsby Drive
                  Hamburg, NY 14075

                  Evoqua Water Technologies LLC
                  Attn: Legal Department
                  181 Thorn Hill Road
                  Warrendale, PA 15086

                  Federal Express Co.
                  199 Aero Drive
                  Buffalo, NY 14225

                  FFF Enterprises
                  41093 County Center Drive
                  Temecula, CA 92591



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                  Fibertech Medical USA LLC
                  1533 Monument Street
                  Concord, MA 01742-5325

                  First Databank


                  Fisher Healthcare
                  4500 Turnberry Drive
                  Hanover Park, IL 60133

                  Flaschner, M.D., Steven
                  770 Davison Road
                  Lockport, NY 14094

                  Flex Operating Room LLC
                  1175 Pittsford Victor Road
                  Suite 140
                  Pittsford, NY 14534

                  Flint Brothers
                  2769 Main Street
                  Newfane, NY 14108

                  Ford Credit
                  Attn: Customer Service Center
                  P.O. Box 542000
                  Omaha, NE 68154-8000

                  FormFast Inc.
                  13421 Manchester Road
                  Suite 208
                  Saint Louis, MO 63131

                  Fortec Litho NY, LLC
                  10125 Wellman Road
                  Streetsboro, OH 44241

                  Fresenius Kabi LLC
                  25476 Network Place
                  Chicago, IL 60673-1254

                  Fresenius USA Marketing Inc.
                  920 Winter Street
                  Waltham, MA 02451-1457

                  FTS Management Inc.
                  7475 N Clare Avenue
                  PO Box 800
                  Harrison, MI 48625

                  Garfunkel Wild PLC
                  111 Great Neck Road
                  Great Neck, NY 11021


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                  GE Healthcare
                  101 Carnegie Center
                  Princeton, NJ 08540

                  Gerster Trane
                  45 Earhart Drive
                  Suite 103
                  Buffalo, NY 14221

                  Getinge USA Sales LLC
                  45 Barbour Pond Drive
                  Wayne, NJ 07470

                  Gorenflo's Buffalo Wholesale Lock
                  1349 Main Street
                  Buffalo, NY 14209

                  Grainger Inc.
                  50 McKesson Parkway
                  PO Box 234
                  Buffalo, NY 14225-5116

                  Great Lakes Hospital


                  Great Lakes Surgical Inc.
                  14200 W Greenfield Avenue
                  Brookfield, WI 53005

                  Guardian
                  PO Box 8500 5160
                  Philadelphia, PA 19178-5160

                  Hardy Diagnostics
                  1430 W McCoy Lane
                  Santa Maria, CA 93455

                  Haroon, M.D., Muneeb
                  822 Davison Road
                  Lockport, NY 14094

                  Harris Beach PLLC
                  99 Garnsey Road
                  Pittsford, NY 14534

                  Health Care Logistics, Inc.
                  PO Box 25
                  Circleville, OH 43113

                  Health Care Technology
                  200 Butterfield Drive
                  Ashland, MA 01721

                  Health Facility Assessment Fund


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                  Health System Services
                  6867 Williams Road
                  Niagara Falls, NY 14304

                  Health Wear of WNY
                  3 Peuquet Parkway
                  Tonawanda, NY 14150-2413

                  Healthbanks


                  Healthcare Association NYS Inc.
                  PO Box 5535 GPO
                  New York, NY 10087-5535

                  Healthmark Industries
                  3080 Momentum Place
                  Chicago, IL 60689-5330

                  Herschell, Suzanne


                  HLS Healthcare Logistics Sys. LLC


                  Hologic Limited Partnership
                  250 Campus Drive
                  Marlborough, MA 01752

                  Hoot LLC
                  54 Bridlewood Drive
                  Lockport, NY 14094

                  Howard P. Schultz & Associates
                  360 Delware Avenue, Suite 200
                  Buffalo, NY 14202-1600

                  ICAD Inc.
                  98 Spitbrook Road
                  Suite 100
                  Nashua, NH 03062

                  Immucor Inc.
                  3130 Gateway Drive
                  Norcross, GA 30091-5625

                  Imperial Door Controls Inc.
                  85 Oriskany Drive
                  Tonawanda, NY 14150

                  Independent Health Association
                  Dept 264
                  PO Box 8000
                  Buffalo, NY 14267-0002


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                  Infusystem
                  11130 Strang Line Road
                  Lenexa, KS 66215

                  Inhealth Technologies
                  1110 Mark Avenue
                  Carpinteria, CA 93013-2918

                  Inland Northwest Health Services Inc.
                  601 West 1st Avenue
                  Spokane, WA 99201

                  Integra
                  311 Enterprise Drive
                  Plainsboro, NJ 08536

                  Intelligent Medical Objects


                  Interface People
                  2274 Rockbrook Drive
                  Lewisville, TX 75067

                  Internal Revenue Service
                  P.O. Box 7346
                  Philadelphia, PA 19101-7346

                  International Union, United Automobile,
                  Aerospace and Agricultural Implement
                  Workers of America, UAW Local 55
                  35 George Karl Boulevard, Suite 300
                  Buffalo, NY 14221

                  Interstate All Battery Center
                  7808 Transit Road
                  Buffalo, NY 14221

                  Intuitive Surgical Inc.
                  1266 Kifer Road
                  Sunnvale, CA 94086-5206

                  J & J Health Care Systems
                  425 Hoes Lane
                  Piscataway, NJ 08855-6800

                  J.H. Dodman Meat Co.
                  116 Michigan Avenue
                  Buffalo, NY 14204

                  Jacob Kern and Sons Inc.
                  56 Nicholls Street
                  Lockport, NY 14094




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                  James W. Danforth Co.
                  2100 Colvin Boulevard
                  Tonawanda, NY 14150

                  Jehrio, M.D. P.C., Gregory T.
                  52 Bonner Drive
                  Lockport, NY 14094

                  John W. Danforth Co.
                  2100 Colvin Boulevard
                  Tonawanda, NY 14150

                  Johnson Controls Fire Protection


                  Johnston Paper Co. Inc.
                  2 Eagle Drive
                  Auburn, NY 13021

                  Joseph Glickman & Associates
                  94 Broadmoor Drive
                  Tonawanda, NY 14150

                  Kaleida Health Dept of Finance
                  726 Exchange Street
                  Suite 200
                  Buffalo, NY 14210

                  Kaleida Health Patient
                  726 Exchange Street, Suite 300
                  Buffalo, NY 14210

                  Karl Storz Capital
                  1111 Old Eagle School Road
                  Wayne, PA 19087

                  Karl Storz Endoscopy American
                  91 Carpenter Hill Road
                  Charlton, MA 01507

                  KCI USA
                  PO Box 301557
                  Dallas, TX 75303-1557

                  Keystone Medical Services
                  Crescent Center
                  6075 Poplar Avenue, Suite 401
                  Memphis, TN 38119

                  Kinney Services Inc.


                  Kirwan Surgical
                  180 Enterprise Drive
                  Marshfield, MA 02050

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                  Koester Associates Inc.
                  RR#5, Box 620
                  Suite 7 Madison Boulevard
                  Canastota, NY 13032

                  Korff Electric, Inc.
                  60 Market Street
                  Lockport, NY 14094

                  Laboratory Corp America Holdings
                  PO Box 12140
                  Burlington, NC 27216-2140

                  Language Services Associates
                  455 Business Center Drive
                  Suite 100
                  Horsham, PA 19044

                  Laser Solutions
                  PO Box 642
                  Lockport, NY 14095

                  Lawns Unlimited Landscaping
                  2344 Hess Road
                  Appleton, NY 14008

                  Life Gas
                  10 Arrowhead Lane
                  Cohoes, NY 12047

                  Life Instrument Corporation
                  91 French Avenue
                  Braintree, MA 02184

                  Lifenet Health
                  PO Box 79636
                  Baltimore, MD 21279-0636

                  Linde LLC


                  Lineage
                  150 Lawrence Bell Drive
                  Suite 100
                  Buffalo, NY 14221

                  Linstar Inc.
                  430 Lawrence Bell Drive
                  Buffalo, NY 14221-7085

                  Localedge
                  PO Box 25934
                  Lehigh Valley, PA 18002-5934



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                  Lockport Journal
                  170 East Avenue
                  Lockport, NY 14094

                  LSA Video Inc.
                  455 Business Center Drive
                  Suite 100
                  Horsham, PA 19044

                  M Carter Decor / Abbey Carpet
                  360 West Avenue
                  Lockport, NY 14094

                  Macro Helix LLC
                  PO Box 742256
                  Atlanta, GA 30374-2256

                  Mader Construction
                  970 Bullis Road
                  PO Box 420
                  Elma, NY 14059

                  Mailfinance


                  Mainline Medical, Inc.
                  3250-J Peachtree Corners Circle
                  Elma, NY 14059

                  Manna Refrigeration Service Inc.


                  Mar Cor Purification
                  4450 Township Line Road
                  PO Box 1429
                  Skippack, PA 19474-1429

                  Marketlab Inc.
                  6850 Southbelt Drive SE
                  Caledonia, MI 49316-7680

                  Masimo
                  40 Parker
                  Irvine, CA 92618-1604

                  MaxMD
                  2200 Fletcher Avenue, Suite 506
                  Fort Lee, NJ 07024-5063

                  McKesson Medical-Surgical Inc.
                  8741 Landmark Road
                  Henrico, VA 23228




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                  McMaster-Carr Supply Co.
                  PO Box 94930
                  Cleveland, OH 44101-4930

                  Med-Label
                  4 Briarhurst Drive
                  Flanders, NJ 07836

                  Medcom Solutions Inc.
                  1010 Ohio River Boulevard
                  Suite 200
                  Pittsburgh, PA 15202

                  Medi-Dose Inc.
                  70 Industrial Drive
                  Warminster, PA 18974

                  Media Displays Inc.
                  109 S Main Street, Box 434
                  Harrisville, PA 16038

                  Medical Information Technology, Inc.
                  Meditech Circle
                  Westwood, MA 02090

                  Medical Liability Mutual
                  8 British American Boulevard
                  Latham, NY 12110-1415

                  Medivators Incorporated
                  14605 28th Avenue North
                  Minneapolis, MN 55447

                  Medline Industries Inc.
                  One Medline Place
                  Mundelein, IL 60060

                  MedPipe


                  Medtox Laboratories Inc.
                  402 West Country Road D
                  Saint Paul, MN 55112-3597

                  Medtronic
                  710 Medtronic Parkway
                  Minneapolis, MN 55432-5604

                  Memorial Blood Centers
                  737 Pelham Boulevard
                  Saint Paul, MN 55114

                  Merit Medical Systems Inc.
                  1600 West Merit Parkway
                  South Jordan, UT 84095

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                  Merry X-Ray Inc.
                  133 Industry Drive
                  RIDC West
                  Pittsburgh, PA 15275

                  Messer North America
                  200 Somerset Corporate Boulevard
                  Suite 7000
                  Bridgewater, NJ 08807

                  Metrodata Inc.
                  403 Main Street, Suite 624
                  Buffalo, NY 14203

                  Micro Focus Software Inc.


                  Microsurgical Technology
                  8415 154 Avenue NE
                  Redmond, WA 98052

                  Microtek Medical Inc.
                  PO Box 2487
                  Columbus, MS 39704-2487

                  Midland States Bank
                  7700 Bonhomme Avenue, Suite 300
                  Saint Louis, MO 63105

                  Midstate Bakery Distributors, Inc.
                  PO Box 23354
                  Rochester, NY 14692

                  Milligray & Associates
                  2141 Williston Heights
                  Marilla, NY 14102-9717

                  Mindray DS USA Inc.
                  1300 MacArthur Boulevard
                  Mahwah, NJ 07430

                  Mirion Technologies Inc.
                  PO Box 19536
                  Irvine, CA 92623

                  Misonix Inc.
                  1938 New Highway
                  Farmingdale, NY 11735

                  MJ Mechanical Services, Inc.
                  2040 Military Road
                  Tonawanda, NY 14150




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                  Mobile Digital Imaging
                  2795 Genesee Street
                  Buffalo, NY 14225

                  Modern Disposal Services, Inc.
                  PO Box 209
                  Model City, NY 14107

                  Mohawk Hospital Equipment Inc.
                  335 Columbia Street
                  Utica, NY 13503

                  Montondo's Seafood Inc.
                  201 East Avenue
                  Lockport, NY 14094

                  Mortan Inc.
                  PO Box 8719
                  Missoula, MT 59807

                  Muirhead Co. Inc., B J
                  115 Mid County Drive
                  Orchard Park, NY 14127

                  Murphy TV & Appliances
                  6300 South Transit Road
                  Lockport, NY 14094

                  Musculoskeletal Transplant Foundation
                  125 May Street, Suite 300
                  Edison, NJ 08837

                  MYCO Instrumentation Inc.
                  21507 State Route 410E
                  Suite B
                  Bonney Lake, WA 98391

                  National Grid
                  PO Box 11742
                  Newark, NJ 07101-4742

                  NCB Medical Coding Specialists Inc.
                  8975 Main Street
                  Clarence, NY 14031

                  New England Medical Specialists
                  PO Box 329
                  354 Old Whitfield Street
                  Guilford, CT 06437

                  New York State Electric & Gas Corp.
                  PO Box 5550
                  Ithaca, NY 14852-5550



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                  Newcomer Supply
                  2505 Parview Road
                  Hayesville, IA 52562

                  Niagara Falls Memorial Med Centre
                  621 Tenth Street
                  Niagara Falls, NY 14302

                  Niagara Frontier Equipment Sales
                  4060 Lake Avenue
                  Lockport, NY 14094

                  Nuance Communications
                  One Wayside Drive
                  Burlington, MA 01803

                  NY Imaging
                  1 D'Alfonso Road
                  Newburgh, NY 12550

                  NYS Attorney General
                  Office of the Attorney General
                  The Capitol
                  Albany, NY 12224-0341

                  NYS Dept of Taxation & Finance
                  Bankruptcy Section
                  PO Box 5300
                  Albany, NY 12205-0300

                  NYS Unemployment Insurance
                  PO Box 4301
                  Binghamton, NY 13902-4301

                  NYSDEC - PBS Unit


                  NYSNA


                  Office Ally


                  Ohio Medical Corporation
                  1111 Lakeside Drive
                  Gurnee, IL 60031-4099

                  Olympus America Inc.
                  8370 Dow Circle
                  Strongsville, OH 44136-1794

                  Omnicell Inc.
                  1201 Charleston Road
                  Mountain View, CA 94043


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                  Optum
                  PO Box 27116
                  Salt Lake City, UT 84127

                  Organogenesis Inc.
                  150 Dan Road
                  Canton, MA 02021

                  Ortho Clinical Diagnostic
                  100 Inigo Creek
                  Rochester, NY 14626-0871

                  Ozark Biomedical, LLC
                  1001 Commerce Place
                  Beebe, AR 72012

                  Pacific Medical Supply
                  Attn: Accounts Receivable
                  33047 Calle Aviador, Suite C
                  San Juan Capistrano, CA 92675

                  Pandion Optimization Alliance
                  3445 Winton Place, Suite 222
                  Rochester, NY 14623-2950

                  Pantheon Capital LLC
                  Crossroads Corporate Center
                  1 International Boulevard, Suite 410
                  Mahwah, NJ 07495

                  Paper Direct, Inc.
                  PO Box 2933
                  Colorado Springs, CO 80901-2933

                  Paradigm Spine LLC
                  505 Park Avenue, 14th Floor
                  New York, NY 10022

                  Partssource, LLC
                  1930 Case Parkway North
                  Twinsburg, OH 44087

                  Patterson Medical
                  PO Box 5071
                  Bolingbrook, IL 60440

                  PB Connection Sales Corp.


                  PC Connection Inc.
                  730 Milford Road
                  Merrimack, NH 03054




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                  Peak-Ryzex Inc.
                  10330 Old Columbia Road
                  Columbia, MD 21046

                  Pediatric Cardiology Assoc. of WNY
                  936 Delaware Avenue, Suite 100
                  Buffalo, NY 14209

                  PEF (SEIU)


                  Pentax Medical Company
                  3 Paragon Drived
                  Montvale, NJ 07645

                  Pepsi-Cola Company
                  6120 Lendell Drive
                  Sanborn, NY 14132-9198

                  PFM Medical Inc.
                  1916 Palomar Oaks Way
                  Suite 150
                  Carlsbad, CA 92008

                  Philips Healthcare
                  3000 Minuteman Road, MS0400
                  Andover, MA 01810

                  Physician's Record Co.
                  3000 S Ridgeland Avenue
                  Berwyn, IL 60402-7000

                  Plumb Master
                  PO Box 700
                  Concordville, PA 19331

                  PMA Companies
                  380 Sentry Parkway
                  Blue Bell, PA 19422

                  PMAIC
                  Lock Box #9831
                  PO Box 8500
                  Philadelphia, PA 19178-9831

                  PNCEF, LLC dba PNC Equipment Finance
                  2300 Cabot Drive, Suite 335
                  Lisle, IL 60532

                  Pooley Inc.
                  207 West Huron Street
                  Buffalo, NY 14201




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                  Posey Company
                  5635 Peck Road
                  Arcadia, CA 91006-0020

                  Povinelli Cutlery
                  3810 Union Road
                  Buffalo, NY 14225

                  Precision Dynamics Corporation
                  27770 N Entertainment Drive
                  Suite 200
                  Valencia, CA 91355

                  Press, Ganey Associates, Inc.
                  Box 88335
                  Milwaukee, WI 53288-0335

                  Psychemedics Corporation
                  PO Box 4163
                  Woburn, MA 01888-4163

                  Public Goods Pool


                  Quality Plus Inc.
                  60 Lawrence Bell Drive
                  Buffalo, NY 14221-7074

                  Quest Diagnostics
                  PO Box 740709
                  Atlanta, GA 30374-0709

                  RBS Citizens, N.A.
                  250 South Clinton Street
                  Syracuse, NY 13202

                  RBS Citizens, N.A.
                  Attn: Interest Rate Risk Management
                  One Citzens Plaza
                  Providence, RI 02903

                  Rel Comm Inc.
                  250 Cumberland Street
                  Suite 214
                  Rochester, NY 14605-2801

                  Rel Comm Inc.
                  250 Cumerbland Street
                  Suite 214
                  Rochester, NY 14605-2801

                  Reliant Medical Equipment
                  3807 Harlem Road
                  Buffalo, NY 14215


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                  Relias LLC
                  PO Box 74008620
                  Chicago, IL 60674-8620

                  Revint Solutions
                  6 Hillman Drive
                  Suite 100
                  Chadds Ford, PA 19317

                  Ronco Specialized Systems Inc.
                  84 Grand Island Boulevard
                  Tonawanda, NY 14150

                  RR Donnelley
                  2351 North Forest Road
                  Suite 100
                  Getzville, NY 14068-1225

                  Russ Medical Specialties
                  520 N. 3rd Street
                  Wilmington, NC 28402

                  S & S Worldwide Inc.
                  PO Box 513
                  Colchester, CT 06415-0513

                  Safeguard Business Systems
                  7030 East Genesee Street
                  Fayetteville, NY 13066

                  Saia Communications Inc.


                  Sanofi Pasteur
                  Rt 611
                  PO Box 187
                  Swiftwater, PA 18370

                  Schlinder Elevator Corp.
                  435 Lawrence Bell Drive
                  Suite 7A
                  Buffalo, NY 14221

                  Shred-It USA LLC
                  440 Lawrence Bell Drive
                  Suite 2
                  Buffalo, NY 14221

                  Siemens Bldg Technologies
                  85 Northpointe Parkway
                  Suite 8
                  Buffalo, NY 14228-1886




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                  Siemens Financial Services, Inc.
                  170 Wood Avenue South
                  Iselin, NJ 08830

                  Siemens Healthcare Diagnostics Inc.
                  First Nat. Bank of Chicago
                  PO Box 93579
                  Chicago, IL 60673-3579

                  Siemens Medical Solutions USA Inc.
                  40 Liberty Boulevard
                  Malvern, PA 19355

                  Siemens Medical Solutions USA Inc.
                  51 Valley Stream Parkway
                  Mail Stop K14
                  Malvern, PA 19355

                  SJB Services Inc.
                  5167 South Park Avenue
                  Hamburg, NY 14075

                  Smart Surgical Inc.
                  3501 West Elder Street
                  Suite 104
                  Boise, ID 83705

                  SmartEdge


                  Smith Medical ASD, Inc.
                  226 West Street
                  Keene, NH 03431

                  Smith Nephew Endoscopy
                  160 Dascomb Road
                  Andover, MA 01810

                  Smith Nephew Orthopedic
                  1450 Brooks Road
                  Memphis, TN 38116

                  Sofat, M.D., Suresh
                  64 Davison Court
                  Lockport, NY 14094

                  Spalding Hardware
                  215 Davison Road
                  Lockport, NY 14094

                  Special Pathogens Laboratory




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                  Spinal Elements
                  1755 West Oak Parkway
                  Marietta, GA 30062

                  Spinal USA Inc.
                  2050 Executive Drive
                  Pearl, MS 39208

                  SPS Medical Supply Corp
                  6789 W Henrietta Road
                  Rush, NY 14543

                  Stahl M.D., David
                  21 North Main Street
                  Middleport, NY 14105

                  Statlab Medical Products
                  2090 Commerce Drive
                  McKinney, TX 75069

                  Stericycle
                  3 Expressway Plaza
                  Suite 110
                  Roslyn Heights, NY 11577

                  Steris Corporation
                  5960 Heisley Road
                  Mentor, OH 44060-1834

                  Strate Welding Supply Co.
                  6776 N Canal Road
                  Lockport, NY 14094

                  Stryker Instruments
                  2825 Airview Boulevard
                  Portage, MI 49002

                  Stryker Instruments
                  2825 Airview Road
                  Portage, MI 49002

                  Stryker Orthopaedics
                  325 Corporate Drive
                  Mahwah, NJ 07430

                  Stryker Sales Corp.


                  Stuart Sports, Inc.
                  486 Center Street
                  Lewiston, NY 14092

                  Summit Print & Mail LLC
                  6042 Old Beattie Road
                  Lockport, NY 14094

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                  Symmetry Surgical
                  3034 Owen Drive
                  Antioch, TN 37013

                  Synergy Global Solutions, Inc.
                  600 Fishers Station Drive
                  Victor, NY 14564

                  Synthes USA
                  1690 Russell Road
                  PO Box 1766
                  Paoli, PA 19301-0800

                  Syracuse Medical Equipment


                  Talksoft Corporation


                  TB & A Television


                  Teamviewer Germany GMBH
                  PO Box 743135
                  Atlanta, GA 30374

                  Tela Bio Inc.
                  One Great Valley Parkway
                  Suite 24
                  Malvern, PA 19355

                  Teleflex LLC
                  3015 Carrington Mill Boulevard
                  Morrisville, NC 27560

                  Teleflex Medical Inc.
                  PO Box 12600
                  2917 Weck Drive
                  Durham, NC 27709

                  The Drain Doctor
                  1400 College Avenue
                  Niagara Falls, NY 14305

                  TimeWarner Cable
                  2604 Seneca Avenue
                  Niagara Falls, NY 14305-3299

                  Total Scope South LLC


                  Trane USA Inc.




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                  Transunion Healthcare Inc.


                  Tremco WNY
                  PO Box 104
                  Lancaster, NY 14086

                  Tri - Anim Health Services
                  201-A Avenue B
                  Youngwood, PA 15697

                  Tri-Delta Resources Corp.
                  15 North Street
                  Canandaigua, NY 14424

                  Trillium Technology Inc.


                  Trimedx Health Care Equipment
                  5452 Lakeview Parkway South Drive
                  Indianapolis, IN 46268

                  Trimedx Health Care Equipment
                  6325 Digital Way
                  Indianapolis, IN 46278

                  Trimedx LLC


                  Tru Quality Medical Inc.
                  PO Box 925
                  Fenton, MI 48430

                  Trusted Nurse Staffing LLC
                  500 Seneca Street
                  Suite 501
                  Buffalo, NY 14204

                  Twin City Ambulance Corp
                  PO Box 536032
                  Pittsburgh, PA 15253-5902

                  U&S Services, Inc.
                  95 Stark Street
                  Tonawanda, NY 14150

                  U.S. Attorney General
                  U.S. Department of Justice
                  950 Pennsylvania Avenue, NW
                  Washington, DC 20530-0001

                  Ulrich Sign Co.
                  177 Oakhurst Street
                  Lockport, NY 14094


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                  Unifirst Corporation
                  3999 Jeffrey Boulevard
                  Buffalo, NY 14219

                  United Parcel Service
                  PO Box 7247-0244
                  Philadelphia, PA 19170-0001

                  University at Buffalo Surgeons Inc.
                  100 High Street
                  Buffalo, NY 14203

                  Upstate Niagara Cooperative Inc.
                  1730 Dale Road
                  Buffalo, NY 14225

                  Uresil
                  5418 West Touhy Avenue
                  Skokie, IL 60077

                  US Foodservice
                  125 Gardenville Parkway West
                  Buffalo, NY 14224

                  Usherwood Office Technology
                  3445 Winton Place
                  Rochester, NY 14623

                  Vapotherm Inc.
                  22 Industrial Drive
                  Exeter, NH 03833

                  Verathon Inc.


                  Verizon
                  PO Box 15124
                  Albany, NY 12212-5124

                  Verizon Wireless


                  VRP NY P.A.
                  25983 Network Place
                  Chicago, IL 60673-1259

                  WB Mason Co Inc.
                  59 Centre Street
                  Brockton, MA 02303

                  Weiler, M.D., Mary
                  3983 Wilson-Cambria Road
                  Ransomville, NY 14131



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                  Wendel Architects & Engineers
                  375 Essjay Road, Suite 200
                  Buffalo, NY 14221

                  Werfen USA LLC
                  180 Hartwell Road
                  Bedford, MA 01730-2443

                  West Coast Medical Resources
                  520 Howard Court
                  Clearwater, FL 33756

                  Windstream
                  PO Box 9001013
                  Louisville, KY 40290-1013

                  WNY Medical Practice PC
                  1425 Portland Avenue
                  Rochester, NY 14621

                  X-Cell Laboratories of WNY Inc.
                  20 Northpointe Parkway, Suite 100
                  Buffalo, NY 14228

                  Xodus Medical Inc.
                  702 Prominence Drive
                  New Kensington, PA 15068

                  Z-Medica
                  4 Fairfield Boulevard
                  Wallingford, CT 06492

                  Zimmer Biomet Spine Inc.
                  1800 West Center Street
                  Bldg 5 MS-5162
                  Warsaw, IN 46580

                  Zimmer Biomet Spine Inc.
                  10225 Westmoore Drive
                  Broomfield, CO 80021

                  Zimmer USA
                  40 Centre Drive
                  Orchard Park, NY 14127




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